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                IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                            DIVISION OF ST. CROIX

 LORETTA S. BELARDO, ANGELA TUITT-              )
 SMITH, BERNARD A. SMITH, YVETTE                )
 ROSS-EDWARDS, AVON CANNONIER,                  )
 ANASTASIA M. DOWARD, DARYL                     )
 RICHARDS, EVERTON BRADSHAW,                    )
 RODELIQUE         WILLIAMS-BRADSHAW,           )
 PAMELA GREENIDGE and WINSTON                   )     2018-CV-8
 GREENIDGE, on behalf of themselves and         )
 all others similarly situated,                 )     CLASS ACTION
                                Plaintiffs,     )
                                                )
                     v.                         )
                                                )
 BANK OF NOVA SCOTIA,                           )
                                Defendant.      )
                                                )
                                                )

                               NOTICE OF APPEARANCE

       PLEASE TAKE NOTICE that Korey Nelson hereby appears as co-counsel of record for

Plaintiffs in the above-entitled action. Please direct all pleadings and correspondence to the

undersigned.

                                                    Burns Charest LLP
                                                    Attorneys for Plaintiffs




 DATED: December 3, 2018                  By:       /s/ Korey Nelson
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                                     CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 3rd day of December, 2018, I electronically filed the
foregoing with the Clerk of the Court using CM/ECF System, which will send a notification of such
filing (NEF) to the following:

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